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0540 §
United States District Court , @`4 10 QQ
WESTERN DISTRICT oF TENNESSEE ’ ’V .
Eastern Division

 

JUDGMENT IN A CIVIL CASE

RAYMOND CLARK,
v.

CORRECTIONS CORPORATION CASE NU|V|BER: 1204-1280-T/An
OF AMERICA, ET AL.,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 8/2/2005, this case is hereby D|SlVl|SSED in its entirety,
pursuant to 28 U.S.C. § 1915 A(b)(1 ), for failure to state a claim on which relief may be
granted. lt is also CERT|F|ED that any Appea| by plaintiff is not taken in good faith.
The plaintiff is instructed that if he wishes to take advantage of the installment
procedures for paying the appellate filing fee, he must comply with the procedures set
out in McGore and § 1915(a)-(b). For analysis under 28 U.S.C. § 1915(g) of future
filings, this is the SECOND dismissal of one of P|aintiff’s cases as frivolous or for failure
to state a claim.

APPRo\/ED;
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JLKYES D. ToDD

TED STATES DISTRICT JUDGE

THOMAS M.' GOULD

 

 

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DATE ’ DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 and/Or 79(3) FRCP Oh 9 l 5 b 0 5 . n \X

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:04-CV-01280 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

Raymond Clark
HCCF-Whiteville
227052

P.O. Box 549
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

